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 AB:AXB


 XJNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 IN THE MATTER OF THE SEARCH OF
 THE FIRST FLOOR,BASEMENT AND
 REAR YARD OF 374 JEFFERSON AVENUE, APPLICATION FOR A SEARCH
 BROOKLYN,NEW YORK 11221,           WARRANT FOR A PREMISES
 INCLUDING ANY LOCKED OR CLOSED
 CONTAINERS AND ITEMS CONTAINED                     CaseNo. 19-MJ-125
 THEREIN




                              AFFIDAVIT IN SUPPORT OF AN
                         APPLICATION UNDER RULE 41 FOR A
                          WARRANT TO SEARCH AND SEIZE



       I, FINBARR FLEMING,being first duly sworn, hereby,depose and state as follows:


                     INTRODUCTION AND AGENT BACKGROUND



       1.     I make this affidavit in support ofan application under Rule 41 ofthe Federal

Rules ofCriminal Procedure for a warrant to search the first floor, basement and rear yard ofthe

premises located at 374 Jefferson Avenue, Brooklyn,New York 11221,including any locked or

closed containers and items contained therein, hereinafter "PREMISES,"further deiscribed in

Attachment A for the things described in Attachment B.


       2.     I am a Detective with.the NYPD and have been since 2005. Since 20141 have

also been a Task Force Officer with the Strategic Pattern Armed Robbery Technical

Apprenticeship Unit(the'Task Force"), ajoint federal task force between the NYPD and the

Bureau of Alcohol, Tobacco,Firearms and Explosives("ATF"). As such,I am a "federal
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 law enforcement officer" for purposes ofRule 41. In.this capacity,I have conducted

 numerous investigatiohs into violent crimes,including robberies and firearms offenses, and have

 executed search warrants at residences and other crime scene locations. As a result of my

 training and experience, I am familiar with the techniques and methods ofoperation used by

 individuals involved in cririimal activity to conceal their activities from detection by law

 enforcement authorities.                                                          ~    .


         3.     I make this affidavit firom personal knowledge based on my participation in this

 investigation,including conomunications with others who have personal knowledge ofthe events

. and circmnstances described herein, oral and written reports about this investigation which your

 affiant received, directly or indirectly from law enforcement personnel, and information gained

 throu^ my training and experience.


        4.      The information provided below is provided for the limited purpose of

 establishing sufficient probable cause for the r^uested warrant and does not set forth all ofmy

 knowledge about this matter. Based on the facts set forth in.this affidavit, there is probable cause

to believe that the PREMISES described in Attachment A contains evidence, instrumentalities,

or finits ofcriminal activity in violation of 18 U.S.C. § 922(g)(1)(felon in possession of

firearms and ammunition),21 U.S.C. § 841 (distribution of controlled substances),

18 U.S.C.§ 924(c)(usiDg, canying or brandishing a firearm in relation to a drug-trafficking

crime and/or crime of violence),.18 U.S.C. § 1959(violent crime in aid ofracketeering).
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 18 U.S.C. § 1962(unlawful racketeering activities), 18 U.S.C. § 844(li)(2)(carrying an

 explosive device in connection with another felony)           18 U.S.C. § 842(i)(l)&(2)

(possessing explosive devices as a convicted felon and/or a fugitive from justice)

.(collectively, the'TARGET OFFENSES").
                                                                                  \
                                    PROBABEE CAUSE
                                                       •   r




       5.      At approximately 7:30 p.ih. on February 6,2019,1, along with another

member ofthe.Task Force ("Lieutenant-1")\ arrived at the PREMISES in connection with

an unrelated criminal investigation. Consistent with the Task Force's usual custom and

practice, and to ensure officer safety, prior to arriving at the PREMISES, members ofthe

Task Force consulted law enforcement databases for information concerning the PREMISES,

including prior police activity at the residence and the identities ofknown occupants. In

doing so, we learned that OLIVER PIERCE is associated with, and likely resides at, the

PREMISES. We also learned that PIERCE has a lengthy and violent criminal history,

including a conviction for first-degree manslaughter and second-degree kidnapping. We also

learned that PIERCE was a fugitive firom justice, and that on May 26, 2016,the.New York



               ^      Because multiple law enforcement personnel were involved in the
arrest ofthis defendant,I refer to them by titular designations for ease ofreference. The
identities ofeach ofthese individuals ^e known to the affiant, and I have interviewed each
ofthem about the events set forth herein.
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State Department of Corrections and Community Supervision issued a parole absconder

warrant for PIERCE's arrest, which, as ofFebruary 6,2019,remained outstanding.

       6.      The PREMISES is a multi^story brownstone building. Upon information and

believe, except only for the basement level, which contsiins no residential units, the

remainder ofthe building is partitioned to contain one apartment per floor. The firont door

remains locked to outsiders, who must use an interconi system to gain entry. The front door

contains alarge glass panel that permits visibility from the front stoop into the first floor

hallway. Upon approaching the PREMISES on February 6,2019,1 was able to observe the

hailway through the glass portion ofthe front door and observed that an interior door leading
to a first-floor apartment was ajar and that lights were on inside the apartment.

       7.      Upon knocking on the front door ofthe PREMISES,an individual who

Lieutenant-1 recognized as OLIVER.PIERCE exited the apartnient into the hallway. When

PIERCE recognized Lieutenant-1 and myself as law enforcement, he retreated down the

hallway, away from the front door, and out ofsight. With PIERCE's whereabouts inside the

PREMISES unknown, and being aware ofhis prior violent history and status as a fugitive.

Lieutenant-1 called for backup. Three NYPD officers from the 79th Precinct Anticrime

Team ("Officer-1,""Officer-2" and "Sergeant-1") arrived on the scene.

       8.      Subsequently, a female later identified as KINETA LEWIS exited the same

first-floor apartment where PIERCE had previously been seen and grated the officers access
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to the PREMISES. Among other things,LEWIS stated to the officers that she was visiting

PIERCE,who lived in the first-floor apartment. I continued to question LEWTIS while other

officers secured the PREMISES and conducted a search for PIERCE.

       9.     In ah attempt to secure the first floor, several officers, including Lieutenant-1

and Sergeant-1, entered the first-floor apartment-where PIERCE had previously been seen.

Inside, the officers observed in plain sight a loaded European American Armory Model 38

Special .38-caliber revolver, a New York State identification card for PIERCE,quantities of

substances appearing to contain marijuana and oxycontin, and several Molotov cocktails.

The officers radioed an Emergency Services Unit to assist in the search for PIERCE.

       10.    In the course ofsecuring the rear yard ofthe PREMISES,Officer-! and

Officer-2 discovered PIERCE hiding under a pile ofleaves behind a shed in the rear yard of

the neighboring property located at 372 Jefferson Avenue,Brooklyn,New York. Evidently,
PIERCE had fled down two flights of stairs, through a rear basement door leading to the

backyard and hopped an adjoining fence into the neighboring yard.
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                                         CONCLUSION



       11.      Accordingly,I submit that this affidavit support probable cause for a warrant to

search the PREMISES,as further described in Attachment A for the items described in
                1



Attachment B.



                                                     Respectfully^bmitted.



                                                     FinbanyFleming
                                                     Detective / Task Force Officer
                                                              I


                                                    New York City Police Department


Subscribed and sw6rn to before me
on February 7



          /s/ SMG
THE HQ^JQRABLE STEVEN1^4^LD
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
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                        rs ' -                                   o




                                     ATTACHMENT A


                                   Property to be searched


       The property to be searched is the first floor,basement and rear yard ofthe brownstone

building located at 374 Jefferson Avenue, Brooldyh, New York (the "PREMISES").
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                                      ATTACHMENT B


                                     Property,to be seized


       Evidence to be searched and seized from the PREMISES and inside locked and closed
containers found therein:

       Instrumentalities, evidence, and fruits of violations of 18 U.S.C. § 922(g)(1)(felon in
possession of firearms and ammunition), 21 U.S.C. § 841 (distribution of controlled
substances), 18 U.S.C. § 924(c)(using, carrying or brandishing a firearm in relation to a drug-
trafficking crime and/or crime of violence), 18U.S.C. § 1959 (violent crime in.aid of
racketeering), 18 U.S.C. § 1962 (unlawful racketeering activities), 18 U.S.C. § 844(h)(2)
(carrying an explosive device in connection with another felony) and 18 U.S.C. § 842(i)(l)&
(2) (possessing explosive devices as a convicted felon and/or a fugitive from justice)
(collectively, the'TARGET OFFENSES"),including:

       (a) Evidence concerning the identities of any occupants, owners, and residents of the
PREMISES,including without limitation, leases, rent payment records, utility and telephorie
bills, mailing • envelopes, addressed correspondence, diaries, financial statements,
identification documents, address books,telephone directories, and keys;-

       (b) Evidehce of drug possession and/or distribution, including but not limited to
controlled substances,packaging material,shipping records, scales, cutting agents,ledgers and
other records(such as customer lists, accounting documents,and financial records), other drug
paraphernalia, and objects or surfaces tha.t appear to have drug residue;

      (c) U.S. and foreign currency that may constitute the proceeds ofdrug distribution, and
records relating to the disposition of drug proceeds or other location of where drug proceeds
may be stored or secreted;

      (d) Evidence relating to the identities and locations of co-conspfrators and/or other
tog suppliers, distributers, and customers,including but hot limited to address books(physical
or electronic, such as on cellphones), photographs (physical or digital), notes, written or
electronic correspondence, such as emails, text messages, and social media postings and
messages;


      (e) Firearms, ammunition, and other weapons; and

       (f) Cellular telephones and electronic storage media that niay contain any
electronically stored information falling within the categories set forth above, as well as any
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passwords,password files,test keys,encryption codes or other information necessary to access
the cellphones or electronic devices or data.
